                        Case 2:18-mj-00044-JEG Document 3 Filed 10/17/18 Page 1 of 1

CRIMINAL MINUTES

                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF GEORGIA
                                                BRUNSWICK DIVISION

CASE NO.       2:18-mj-44                    DATE          10-17-2018                     TIME    10:17-10:20


USA v.      Clifford Reynovich                                                   TAPE NO.FTR-CR1          JUDGE   WOOD


BEFORE JAMES E. GRAHAM, U.S. MAGISTRATE JUDGE                               INTERPRETER:



  X      DEFENDANT PRESENT

  X      COUNSEL FOR DEFENDANT           Whitney Johnson
  X      ASSISTANT U.S. ATTORNEY         John Harper
  X      DEPUTY CLERK                    Kim Mixon
  X      U.S.P.O                         Fonda Dixon
  X      U.S. MARSHAL                        Jay Ciambrone              Marty Fitzjurls      X Jason Parnell
  X      INITIAL APPEARANCE                                ARRAIGNMENT

 X DEFENDANT                ARRESTED ON                X   IN CUSTODY OF USM ON              10-17-2018

   COPY OF                  INDICTMENT             COMPLAINT                 GIVEN TO DEFENDANT
 X DEFENDANT ADVISED OF RIGHTS

   INDICTMENT READ TO DEFENDANT

 X PRETRIAL SERVICES REPORT FURNISHED TO COUNSEL AND COURT

   CONSULAR NOTIFICATION WAIVER EXECUTED

 X DEFENDANT REMAINDED TO CUSTODY OF U.S. MARSHAL TO BE TRANSPORTED TO NORTHERN DISTRICT OF OHIO.

INITIAL APPEARANCE AS TO DEFENDANT ON WARRANT FOR THE ARRET OF A WITNESS OR MATERIAL WITNESS IN A
PENDING CRIMINAL CASE. COPY PROVIDED TO DEFENDANT.
NO FINANCIAL AFFIDAVIT PROVIDED. DEFENDANT WAIVES RIGHT TO IDENTITY/BOND/DETENTION HEARINGS.
ORDER THAT DEFENDANT BE TRANSPORTED TO NORTHERN DISTRICT OF OHIO TO APPEAR IN CASE SCHEDULED FOR
TRIAL ON 10/23/2018.
